           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                        WESTERN DIVISION


United States of America,

                    Plaintiff;

               v.                           Case No.09-CR-00188-4-BCW

Adrian Dunn,

                    Defendant.



   UNITED STATES’ MOTION TO ASSIGN A CIVIL CASE NUMBER
 TO DEFENDANT DUNN’S MOTION TO SET ASIDE FORFEITURE,
             WITH SUGGESTIONS IN SUPPORT
   The United States of America, by its attorneys, Tammy Dickinson, United

States Attorney, and James Curt Bohling, Assistant United States Attorney

and Chief, Monetary Penalties Unit, moves for the assignment of a civil case

number to defendant Adrian Dunn’s motion to set aside forfeiture. In support

of this Motion, the United States provides the following suggestions in

support:
   On February 27, 2015, defendant Adrian Dunn filed a motion pursuant to

18 U.S.C. § 983(e) to set aside certain administrative forfeiture actions by the

United States Department of Homeland Security, U.S. Customs and Border

Protection (“CBP”). Administrative forfeiture is a civil remedy, not a criminal

one. Serrano v. United States, 2012 WL 3966321 (S.D.N.Y. Sept. 10, 2012)

(administrative forfeitures are civil and nature and governed by the Customs

laws; Rule 32.2 does not apply). Consequently, a motion under 18 U.S.C. §

983(e) to set aside an administrative forfeiture is itself a civil proceeding. See




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18 U.S.C. § 983(3)(1) and (5). The United States therefore requests that

Dunn’s motion be given a civil number by the Court and treated as a new

civil proceeding.

   As a new civil proceeding, the United States is accorded 60 days under the

Federal Rules of Civil Procedure in which to respond. United States v.

Gonzalez-Gonzalez, 257 F.3d 31, 36 (1st Cir. 2001) (Government has 60 days

to respond to complaint that property was forfeited without proper notice).

                                 CONCLUSION

   For the reasons set forth above, the United States requests that the Court

designate defendant Dunn’s motion to set aside CBP’s administrative

forfeiture proceedings as a new civil case.


                                 Tammy Dickinson
                                 United States Attorney

                          By     /s/ James Curt Bohling

                                 James Curt Bohling
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                                 Assistant United States Attorney
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                        CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2015, the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system,
and was also served by mail upon:

                   Adrian L. Dunn, #21571-045
                   F.C.I. Oakdale-Louisiana
                   P.O. Box 5000
                   Oakdale, Louisiana 71463



                              /s/ James Curt Bohling

                                 James Curt Bohling
                                 Chief, Monetary Penalties Unit
                                 Assistant United States Attorney




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